Case 2:05-cv-04182-SRD-JCW Document 18257-1 Filed 03/23/09 Page 1 of 2

~Gierio8 (Rev. 12/06) Subpoena ina Civil Case

Issued by the

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES

CONSOLIDATED LITIGATION SUBPOENA IN A CIVIL CASE
Vv.
05-4182;
al PERTAINS TO LEVEE AND
Case Number: MR-GO EASTERN
DISTRICT OF LOUISIANA

TO: Hartford Casualty Insurance Company; Through its
Registered Agent of Process: Louisiana Secretary of State
8585 Archive Ave; Baton Rouge, La 70809

[1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
to testify in the above case.

PLACE OF TESTIMONY COURTROOM

DATE AND TIME

YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

PLACE OF DEPOSITION DATE AND TIME

x YOUARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date, and time specified below (list documents or objects):

The documents identified on the attached Exhibit “A”

PLACE DATE AND TIME
Lugenbuhl, Wheaton, Peck, Rankin & Hubbard;7470 Highland Rd Baton Rouge, LA 3/30/09; 9:00 a.m.

YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.
PREMISES DATE AND TIME

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

Lo
ISSUING/OEFE ; SIGYATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) | DATE /
OF

counsel Ja2 O4leans Levre Ptatnrek 3 //F

ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER
Ben L. Mayeaux, Laborde & Neuner, 1001 W. Pinhook Road, Suite 200, Lafayette, LA 70503; (337) 237-7000

(See Rule 45, Federal Rules of Civil Procedure, Subdivisions (c), (d), and (e), on next page)

‘Tf action is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-04182- “SRD- JCW Document 18257-1 Filed 03/23/09 Page 2 of 2

PROOF OF SERVICE

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PLACE

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SERVED ON (PRINT NAME) MANNER OF SERVICE
— L
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TITLE

SERVED BY (PRINT NAME) )

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

Executed on

SERVED ON
AY DARDENNE

MAR 79 70N9

SECRETARY OF STATE
COMMERCIAL DIVISION

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SIGNATURES SERVER _

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ADDRESS OF SERVER

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Federal Rule of Civil Procedure 45 (c), (d), and (e), as amended on December 1, 2007:

(c) PROTECTING A PERSON SUBJECT TO A SUBPOENA.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attomey responsible for
issuing and serving a subpoena must take reasonable steps toavoid i imposing undue burden or
expense on a person subject to the subpoena. The issuing court must enforce this duty and
impose an appropriate sanction — which may includelost earningsand reasonable attorney's fees
— on a party or attorney who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce documents,
electronically stored information, or tangible things, or to permitthe inspection of premises, need
not appear in person at the place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents ortangible things or to
permit inspection may serve on the party or attorney designated in the subpoena a written
objection to inspecting, copying, testing or sampling any or all of the materials or toinspecting
the premises — or to producing electronically stored informationin the form or forms requested.
The objection must be served before the earlier of the time specified for compliance or 14 days
after the subpoena is served. If an objection is made, the following rules apply:

(i) At any time, on notice to the commanded person, the serving party may move
the issuing court for an order compelling production or inspection.

(id) These acts may be required only as directed in the order, and the order must
protect a person who is neither a party nor a party's officer from significant expense resulting
from compliance.

G) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the issuing court must quash or modify a
subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person who is neither a party nor a party's officerto travel more than
100 miles from where that person resides, is employed, or regularly transacts business in person
— except that, subject to Rule 45(c)(3)(B)(iii), the person may be commanded to attend atrial
by traveling from any such place within the state where the trial is held;

(iii) requires disclosure of privileged or other protected matter, ifno exception or
waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a subpoena, the
issuing court may, on motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development, or
commercial information;

(i) disclosing an unretained expert's opinion or information that does not
describe specific occurrences in dispute and results from the expert's study that was not requested
by a party; or

(iii) a person who is neither a party nor a party's officer to incur substantial
expense to travel more than 100 miles to attend trial

(C) Specifying Conditions as an Alternative. In the circumstances described in Rule
45(c)(3)(B), the court may, instead of quashing or modifying a subpoena, order appearance or
production under specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be otherwise

met without undue hardship; and
(ii) ensures that the subpoenaed person wil] be reasonably compensated,

(d) DUTIES IN RESPONDING TO A SUBPOENA.
(1) Producing Documents or Electronically Stored Information. These pr ocedures apply to
producing documents or electronically stored information:

(A) Documents. A person responding to a subpoena to produce documents must
produce them as they are kept in the ordinary course of business or must organize and label them
to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified. Ifa subpoena
does not specify a form for producing electronically stored information, the person responding
must produce it in a form or forms in which it is ordinarily maintained or in a réasonably usable
form or forms,

(C) Electronically Stored Information Produced in Only One Form. The person
responding need not produce the same electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Information. The person respondingneed not
provide discovery of electronically stored information from sources that the person identifies as
not reasonably accessible because of undue burden or cost. On motion to compel discovery or
for a protective order, the person responding must show that the informationis not reasonably
accessible because of undue burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows good cause, considering the
limitations of Rule 26(b)(2}(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information under a claim

that it is privileged or subject to protection as trial-preparation material must:

() expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible thingsin a manner that, without revealing informationitself privileged or protected, will
enable the parties to assess the claim.

(B) InformationProduced. Ifinformation produced in response to a subpoena is subject
to a claim of privilege or of protection as trial-preparation material, the person making the clatm
may notify any party that receivedthe information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified information and any
copies it has; must not use or disclose the information until the claim is resolved: must take
reasonable steps to retrieve the information if the party disclosed it betore being notified; and
may promptly present the information to the court under seal for a determination ofhe claim.
The person who produced the information must preserve the information until the claim is
resolved.

(e) CONTEMPT.

The issuing court may hold in contempt a person who, having been served, fails without
adequate excuse to obey the subpoena. A nonparty's failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a place outside the limits of
Rule 45(c)(3)(A)(ii).
